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                                                                            69950001-GUO
                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

GENE MICHNO,                            )
                                        )
                             Plaintiff, ) Honorable Matthew F. Kennelly
                                        )
                   v.                   ) Case No. 13-cv-7163
                                        )
                                        ) Consolidated
SHERIFF THOMAS DART, COOK COUNTY )
SHERIFF’S OFFICE, ROSEMARIE NOLAN,      )
ZELDA WHITTLER, JOSEPH WAYS, SR.,       )
GARY HICKERSON, AND COOK COUNTY, )
                                        )
                           Defendants. )



IVAN HERNANDEZ,
                                                  )
                                       Plaintiff, ) Honorable Matthew F. Kennelly
                                                  )
                        v.                        ) Case No. 13-cv-07949
                                                  )
COOK COUNTY SHERIFF’S OFFICE,                     ) Consolidated
THOMAS J. DART, in his individual capacity        )
as Sheriff of Cook County, Illinois               )
ROSEMARIE NOLAN, ZELDA WHITTLER, )
JOSEPH WAYS, SR., EDWARD M. DYNER, )
in their individual capacities, and COOK          )
COUNTY, a local unit of government,               )
                                                  )
                                     Defendants. )

     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ RULE 56.1 STATEMENT OF
                        UNDISPUTED FACTS

       NOW COME Defendants, COOK COUNTY SHERIFF’S OFFICE, AND THOMAS J.

DART, ROSEMARIE NOLAN, ZELDA WHITTLER, JOSEPH WAYS SR., GARY

HICKERSON, EDWARD DYNER, AND COOK COUNTY (the “Defendants”) by their
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attorneys, Querrey & Harrow, Ltd., and for their Response to Plaintiffs’ Rule 56.1 Statement of

Undisputed Facts, state as follows:

       1.      Plaintiffs Michno and Hernandez bring claims under 42 U.S.C. § 1983 against

Defendants—including the Cook County Sheriff’s Office, and Dart in his individual capacity,

and other high ranking officials (policy makers) for the Sheriff’s Office—for violations of their

First Amendment rights to the United States Constitution based on (1) their freedom of speech

and protected activity; (2) their freedom of political association (Count I). Plaintiffs also bring

claims for violations of the Illinois Whistleblower Act for the retaliation they experienced

because they filed the prior lawsuit and engaged in protected activity (Count II). (See, e.g., 13-

CV-7163, Dkt. 56, ¶¶ 51-54, Michno Amend. Complaint; see also Dkt. 110, ¶ 1; 13-CV-7949,

Dkt. 1, Hernandez Complaint ¶¶ 1, 59, 60; see also 13-CV-7949, Dkt. 29, Defs.’ Amend.

Answer ¶ 1.)

RESPONSE: Defendants admit that Plaintiffs are bringing their § 1983 claim for alleged
violations of their First Amendment rights and further admit that Plaintiffs are bringing a
claim under the Illinois Whistleblower Act for their allegations that they were retaliated
against for filing Hernandez I and engaging in protected activity.

       2.      Plaintiff’s First Amendment free speech and protected activity claims are based

on the fact that filed a lawsuit, Hernandez, et al. v. Cook County Sheriff’s Office, et al., Case No.

07 C 855 (N.D. Ill.) (“Hernandez I”), against the Sheriff’s Office and other policymakers of the

Sheriff’s Office. In the Hernandez I case, the plaintiffs filed claims for political retaliation, when

they were suspended with pay and subject to an OPR investigation over the escape of 6 inmates

from the Cook County Jail before the primary election in 2006. (See, e.g., 13-CV-7163, Dkt. 56,

¶ 29; Michno Amend. Complaint; 13-CV-7949, Dkt. 1, Hernandez Complaint ¶ 31.)

RESPONSE: Admit.

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    3. Hernandez I proceeded before a bench trial before Honorable Judge Durkin on August 1,

2016 through approximately August 19, 2016. Hernandez I, 07-cv-00855, Docket ##579-603

(trial dates).

RESPONSE: Admit.

    4. Plaintiffs’ First Amendment claims here are also based on retaliation for Plaintiffs’

political affiliation, which Judge Durkin in Hernandez I has already found that “the Sheriff’s

Office believed Plaintiffs, like virtually all SORT officers, were politically affiliated with

Remus,” based on the evidence presented during a three-week bench trial in that case. (Exhibit 1,

Hernandez I Dkt. 652 at 16 (“Based on this evidence, the Court finds the Sheriff’s Office

believed Plaintiffs, like virtually all SORT Officers, were politically affiliated with Remus.”);

see also Hernandez I, 07-cv-00855, Docket ## 579-603 (trial dates.)

RESPONSE: Admit.

    5. Judge Durkin noted in his findings of fact and conclusions of law:

The Sheriff’s Office argues that Plaintiffs’ political affiliation could not have motivated the
suspensions and the investigations onto their conduct because Plaintiffs have failed to prove that
any Sheriff’s Office policymaker “knew [Plaintiffs] supported Remus or that Plaintiffs were even
perceived to be Remus supports.” R. 635 at 9. The Court disagrees.

(Exhibit 1, Hernandez I, Dkt. 652 at 15.)

RESPONSE: Admit.

    6. The Sheriff’s Office, which was the defendant in the Hernandez I trial, was fully

represented by outside counsel hired by the Sheriff. (See generally, Hernandez I Docket, 07-cv-

00855, appearances.)

RESPONSE: Admit. Further responding, Defendants Sheriff Dart, Rosemarie Nolan,
Zelda Whittler, Joseph Ways, Sr., Gary Hickerson, and Edward Dyner were not
Defendants in Hernandez I. (See Hernandez, et al. v. Cook County Sheriff’s Office, et al. (07

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CV 855), Dkt. 55, attached as Ex. A to Defendants’ Rule 56.1 Statement of Additional
Facts).

   7. Defendants admit that this Court has jurisdiction over Plaintiffs’ claims. (13-CV-7163,

Dkt. 110, ¶¶ 2-3; 13-CV7949, Dkt. 29, Defs.’ Amend. Answer ¶¶ 2-3.)

RESPONSE: Admit.

   8. Defendants also admit that venue in this Court is proper. (13-CV-7163, Dkt. 110, ¶¶ 2-3;

13-CV-7949, Dkt. 29, Defs.’ Amend. Answer ¶¶ 2-3.)

RESPONSE: Admit.

                                                  Respectfully Submitted,

                                                  By: /s/ Terrence F. Guolee
                                                  One of the attorneys for Defendants

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